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Case 1:05-cv-01032-.]DT-STA Document 62 Filed 08/31/05 Page 1 of 3 Page|D 39

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

WOOD M. DEMING, M.D.,
REGIONAL CARDIOLOGY

CONSULTANTS, P.C.,
Plaintiffs,

V.

JACKSON-MADISON COUNTY
GENERAL HOSPITAL DISTRICT,

et al.,

Defendants.

\_/\_/W\_/“d\-/`~_/\-/V\_V\-H'-/‘\_/

EASTERN DIVISI{)N

NO.

1-05-1032-T

 

ORDER DENYING DEFENDANTS’ MOTION TO POSTPONE SCHEDULING
CONFERENCE AND ENTRY OF A SCHEDULING ORDER AND TO TEMPORARILY
SUSPEND DEFENDANTS’ OBLIGATIONS UNDER RULE 26 AND MOTION FOR

PROTECTIVE ()RDER T() STAY DISCOVERY

 

Before the Court is Defendants’ Motion to Postpene Scheduling Conference and Entry of

a Scheduling Order and to Temporarily Suspend Defendants’ Obligations Under Ruie 26 and

Motion for Protective Order to Stay Discovery filed On July 5, 2005. United States District Judge

Jarnes D. Todd referred this matter to the Magistrate Judge for disposition The Motion is

DENIED.

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The Court Will schedule a Rule 16(b) Scheduling Conference to discuss and develop a

Scheduling Order which will govern the deadlines for completing discovery.

§§ pmm/nm died

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

IT IS SO ORDERED.

Date: @Loaj 301. ZOOA"

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 62 in
case 1:05-CV-01032 Was distributed by faX, mail, or direct printing on
August 31, 2005 to the parties listed.

 

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Honorable J ames Todd
US DISTRICT COURT

